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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


In Re: RFC and RESCAP Liquidating                    Civil File No. 13-3451 (SRN/JJK/HB)
Trust Litigation


13cv03447 (PJS/JSM), Residential Funding Co., LLC v. The Mortgage Outlet, Inc.
13cv03448 (DWF/TNL), Residential Funding Co., LLC v. Ark-La-Tex Financial Services, LLC
13cv03449 (JNE/SER), Residential Funding Co., LLC v. Cherry Creek Mortgage Co., Inc.
13cv03450 (MJD/FLN), Residential Funding Co., LLC v. Guaranty Bank
13cv03451 (SRN/BRT) , Residential Funding Co., LLC v. Academy Mortgage Corp.
13cv03453 (SRN/JJK), Residential Funding Co., LLC v. First California Mortgage Co.
13cv03457 (PAM/HB), Residential Funding Co., LLC v. Embrace Home Loan, Inc.
13cv03460 (DSD/HB), Residential Funding Co., LLC v. Americash
13cv03463 (ADM/SER), Residential Funding Co., LLC v. Broadview Mortgage Corp.
13cv03466 (PJS/JJK), Residential Funding Co., LLC v. Golden Empire Mortgage, Inc.
13cv03468 (JRT/JJK), Residential Funding Co., LLC v. Community West Bank, N.A.
13cv03470 (JNE/FLN), Residential Funding Co., LLC v. Fremont Bank
13cv03471 (PAM/LIB), Residential Funding Co., LLC v. PMC Bancorp
13cv03473 (ADM/BRT), Residential Funding Co., LLC v. First Equity Mortgage Bankers, Inc.
13cv03474 (JNE/TNL), Residential Funding Co., LLC v. Colonial Savings, F.A.
13cv03475 (RHK/HB), Residential Funding Co., LLC v. First Guaranty Mortgage Corp.
13cv03476 (ADM/JSM), Residential Funding Co., LLC v. Central Pacific Homeloans, Inc., et al.
13cv03485 (SRN/TNL), Residential Funding Co., LLC v. Provident Funding Asociates, L.P.
13cv03490 (RHK/FLN), Residential Funding Co., LLC v. First Mortgage Corporation
13cv03491 (DWF/HB), Residential Funding Co., LLC v. Mortgage Network, Inc.
13cv03492 (JNE/FLN), Residential Funding Co., LLC v. Mortgage Capital Assoc., Inc.
13cv03493 (DWF/HB), Residential Funding Co., LLC v. Premier Financial Services, Inc.
13cv03495 (ADM/FLN), Residential Funding Co., LLC v. Lenox Financial Mortgage Corp.
13cv03496 (JNE/HB), Residential Funding Co., LLC v. E Trade Bank
13cv03497 (PAM/FLN), Residential Funding Co., LLC v. Lake Forest Bank & Trust Co.
13cv03498 (JRT/BRT), Residential Funding Co., LLC v. PNC Bank, N.A.
13cv03499 (DSD/FLN), Residential Funding Co., LLC v. Mortgage Access Corp.
13cv03500 (MJD/BRT), Residential Funding Co., LLC v. Mid-Atlantic Financial Services, Inc.
13cv03502 (DSD/FLN), Residential Funding Co., LLC v. Pemm. Tek Mortgage Services, LLC
13cv03504 (RHK/SER), Residential Funding Co., LLC v. Cornerstone Home Lending, Inc., f/k/a
       Cornerstone Mortgage Co.
13cv03506 (JNE/SER), Residential Funding Co., LLC v. Impac Funding Corp.
13cv03508 (MJD/TNL), Residential Funding Co., LLC, et al. v. Plaza Home Mortgage, Inc.
13cv03509 (PAM/HB), Residential Funding Co., LLC v. Hometown Mortgage Services, Inc.
13cv03511 (RHK/FLN), Residential Funding Co., LLC v. Sierra Pacific Mortgage Company, Inc.
13cv03512 (MJD/HB), Residential Funding Co., LLC v. Wallick & Volk, Inc.
13cv03513 (PJS/BRT), Residential Funding Co., LLC v. Branch Banking & Trust Co.
13cv03515 (SRN/SER), Residential Funding Co., LLC, et al. v. T.J. Financial, Inc.
13cv03516 (ADM/FLN), Residential Funding Co., LLC v. Stearns Lending, LLC
13cv03517 (MJD/JSM), Residential Funding Co., LLC v. Terrace Mortgage Co.
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13cv03518 (MJD/BRT), Residential Funding Co., LLC v. Gateway Bank, F.S.B
13cv03519 (SRN/JSM), Residential Funding Co., LLC v. Universal American Mortgage Co., LLC
13cv03520 (JRT/JSM), Residential Funding Co., LLC v. Homestead Funding Corp.
13cv03521 (ADM/LIB), Residential Funding Co., LLC v. Wells Fargo Bank, N.A.
13cv03523 (JNE/FLN), Residential Funding Co., LLC v. BMO Harris Bank, N.A.
13cv03524 (DSD/HB), Residential Funding Co., LLC v. SouthTrust Mortgage Corp., et al.
13cv03525 (SRN/JSM), Residential Funding Co., LLC v. Wells Fargo Financial Retail Credit, Inc.
13cv03526 (JRT/JJK), Residential Funding Co., LLC v. Standard Pacific Mortgage, Inc.
13cv03528 (ADM/TNL), Residential Funding Co., LLC v. National Bank of Kansas City
13cv03529 (MJD/JJK), Residential Funding Co., LLC v. Summit Lending Solutions, Inc.
13cv03531 (PJS/TNL), Residential Funding Co., LLC v. iServe Residential Lending, LLC
13cv03538 (DWF/SER), Residential Funding Co., LLC v. Greenpoint Mortgage Funding, Inc.
13cv03545 (PAM/JJK), Residential Funding Co., LLC v. Circle Mortgage Corp.
14cv00009 (ADM/BRT), Residential Funding Co., LLC v. United Fidelity Funding Corp.
14cv00143 (ADM/TNL), Residential Funding Co., LLC v. DB Structured Products, Inc., et al.
14cv01710 (DSD/TNL), Residential Funding Co., LLC v. CTX Mortgage Co., LLC, et al.
14cv1716 (DWF/JJK), Residential Funding Co., LLC v. Home Loan Center, Inc.
14cv01737 (MJD/JSM), Residential Funding Co., LLC v. Decision One Mortgage Co., LLC, et al.
14cv01739 (PAM/JJK), Residential Funding Co., LLC v. E-Loan, Inc.
14cv01740 (PJS/TNL), Residential Funding Co., LLC v. Rescue Mortgage, Inc.
14cv1760 (PJS/TNL), Residential Funding Co., LLC v. American Mortgage Network, LLC
14cv03093 (PJS/BRT), Rescap Liquidating Trust v. RBC Mortgage Co.
14cv03522 (ADM), Rescap Liquidating Trust v. CMG Mortgage, Inc.
14cv03525 (DWF/BRT), Rescap Liquidating Trust v. Synovus Mortgage Corp.
14cv03942 (DWF/JJK), Residential Capital, LLC, et al. v. Honor Bank
14cv03946 (MJD), Rescap Liquidating Trust v. Cadence Bank, N.A.
14cv03950 (DWF/FLN), ResCap Liquidating Trust v. Primary Capital Advisors, LLC
14cv04701 (JRT), Rescap Liquidating Trust v. PHH Mortgage Corp.
14cv04924 (DWF/SER), ResCap Liquidating Trust v. Global Advisory Group, Inc., et al.
14cv05101 (MJD/HB), ResCap Liquidating Trust v. Freedom Mortgage Corp.
15cv00066 (JRT/JSM), ResCap Liquidating Trust v. Monarch Bank
15cv00092 (JNE), Rescap Liquidating Trust v. First Mariner Bank


                                 ADMINISTRATIVE ORDER

       In order to promote the just and efficient conduct of this litigation, pursuant to

Rule 42(a) of the Federal Rules of Civil Procedure and LR 83.11, the United States

District Court Judges of the United States District Court for the District of Minnesota

hereby order the coordination and consolidation of all cases identified above for all

pretrial purposes.


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       All of the above identified cases will hereby be consolidated before Judge Susan

Richard Nelson and Magistrate Judges Jeffrey J. Keyes and Hildy Bowbeer for all pretrial

purposes, including the coordination of all discovery matters, settlement discussions, non-

dispositive motions and dispositive motions, other than summary judgment and trial. Any

pleading or paper hereafter shall be filed electronically, in accordance with this District’s

CM/ECF protocol under the style “In Re: RFC and RESCAP Liquidating Trust

Litigation”, Civil File No. 13-cv-3451 (SRN/JJK/HB) (the “Consolidated Action”).

       All of the cases identified above, with the exception of Civil File No. 13-cv-3451

will be indefinitely stayed. At such time as Judge Susan Richard Nelson deems

appropriate, the cases will be transferred back to their original District Judge and

Magistrate Judge for summary judgment, if appropriate, and trial.

       This Order shall also apply to all newly filed cases by RFC or the RESCAP

Liquidating Trust in this District during the pendency of this pretrial coordination.

Such cases will be initially assigned to a District Judge and Magistrate Judge as per the

usual case assignment procedures of this District and will then automatically be

transferred to the Consolidated Action pursuant to this Order.

       The hearings on all pending motions in these cases are hereby cancelled. All such

pending motions must be refiled in the Consolidated Action. A new hearing date will be

set for any such motion and the same hearing date will be set for motions which raise

common issues.

       Discovery shall proceed apace under the various Case Management Orders issued

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by the Magistrate Judges of this District until a Comprehensive Case Management Order

is put into place. All discovery motions, hereinafter, must be scheduled through Susan

Del Monte, at 651-848-1970. Any communications to the Court may be sent to

Nelson_chambers@mnd.uscourts.gov.

       A Pretrial Order will issue shortly in the Consolidated Action.

       The Clerk of Court is hereby directed to:

       1. File this Order in all cases identified above and reassign all cases, on a

temporary basis, to Judge Susan Richard Nelson and Magistrate Judge Jeffrey J. Keyes

and Magistrate Judge Hildy Bowbeer.

       2. Add the parties and their counsel to the docket of “In Re: RFC and RESCAP

Liquidating Trust Litigation”, Civil File No. 13-cv-3451 (SRN/JJK/HB)(the

“Consolidated Action”).

       3. STAY all other cases identified above until such time as further direction is

received from Judge Susan Richard Nelson.

       4. All future cases brought by Plaintiffs RFC and/or RESCAP Liquidating Trust

shall be randomly assigned to a District Court Judge and Magistrate Judge as per the case

assignment plan in this District and then transferred to the Consolidated Action.


Dated: January 27, 2015


                                    _s/Michael J. Davis__________________
                                    MICHAEL J. DAVIS
                                    Chief Judge, U.S. District Court


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                       __s/John R. Tunheim_________________
                       JOHN R. TUNHEIM
                       Judge, U. S. District Court


                       __s/Ann D. Montgomery_______________
                       ANN D. MONTGOMERY
                       Judge, U.S. District Court


                       __s/Donovan W. Frank________________
                       DONOVAN W. FRANK
                       Judge, U.S. District Court


                       __s/Joan N. Ericksen__________________
                       JOAN N. ERICKSEN
                       Judge, U.S. District Court


                       __s/Patrick J. Schiltz______________
                       PATRICK J. SCHILTZ
                       Judge, U.S. District Court


                       __s/Susan Richard Nelson____________
                       SUSAN RICHARD NELSON
                       Judge, U.S. District Court


                       __s/Donald D. Alsop_________________
                       DONALD D. ALSOP
                       Senior Judge, U.S. District Court


                       __s/Paul A. Magnuson________________
                       PAUL A. MAGNUSON
                       Senior Judge, U.S. District Court




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                       __s/David S. Doty___________________
                       DAVID S. DOTY
                       Senior Judge, U.S. District Court


                       __s/Richard H. Kyle_________________
                       RICHARD H. KYLE
                       Senior Judge, U.S. District Court




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